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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION
CYNTHIA K. EKEREN,

                   Plaintiff,

vs
                                                      AMENDED COMPLAINT AND
MEGAN J. BRENNAN,
                                                     REQUEST FOR TRIAL BY JURY
POSTMASTER GENERAL, U.S.
POSTAL SERVICE,
            Defendant.


            COMES NOW Plaintiff Cynthia Ekeren and brings this action for sexual

discrimination against the above-named Defendant, Megan J. Brennan, Postmaster

General, U.S. Postal Service ("the USPS") as follows:

                        THE PARTIES, JURISDICTION AND VENUE

         1) This action arises under Title VII of the Civil Rights Act of 1964, as amended, 42

U.S.C. § 2000e et seq. ("Title VII").

         2) Ms. Ekeren is an adult resident of Lincoln County, South Dakota.

         3) Defendant USPS is an agency of the United States government responsible for

providing postal service in the United States.

        4) Ms. Ekeren is an employee of the USPS within the meaning of 42 U.S.C. §

2000e(f).

         5) During her employment with the USPS, Ms. Ekeren has worked at one of its

Sioux Falls, South Dakota worksites.

         6) Ms. Elceren timely filed a Charge of discrimination alleging sexual discrimination

and retaliation.
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        29) On July 26, 2018, Ms. Ekeren observed that she had a missed call from Ms.

Lovelace. As a result, she emailed Ms. Lovelace a "short explanation" of her sexual

harassment report. Ms. Ekeren explicitly stated she was sickened and stressed about what

had happened to her, and she had heard that this co-worker had sexually harassed two other

female co-workers and had previously been accused of rape.

        30) On July 31, 2018, Ms. Lovelace called Ms. Ekeren and conducted an initial

interview regarding Ms. Ekeren's sexual harassment complaint. Ms. Lovelace represented

that she was going to speak to her supervisor and respond to Ms. Ekeren's complaint.

        31) Ms. Ekeren did not hear anything further from Ms. Lovelace until January 24,

2019, when Ms. Lovelace emailed Ms. Ekeren asking for her phone number.

        32) Between the July 31 phone call and the January 24, 2019 email, Ms. Ekeren had

emailed Ms. Lovelace on September 10, 2018, on December 29, 2018 and on Janumy 23,

2019. Each email requested a follow up from Ms. Lovelace in reference to the sexual

hm·assment report made in July 2018.

        33) Ms. Lovelace did not respond to any of Ms. Ekeren's emails until Janumy 24,

2019, when Ms. Lovelace sent an email to Ms. Ekeren that stated: "Please provide your

phone number so I can call you."

        34) Ms. Ekeren immediately provided her phone number. However, Ms. Lovelace

did not call her.

        35) On Janumy 27, 2019, Ms. Ekeren sent an email to Ms. Lovelace and copied the

email to an HR supervisor named Thomas Elias. The email that reported Ms. Ekeren's

concern that Ms. Lovelace had not investigated her complaint or responded to Ms. Ekeren's

questions since July 2018. Specifically, the email stated: "Its [sic] been 5 months since we




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last spoke and I have yet to hear from you. I have sent you several emails and have not

received any kind of a response to any of them. I am frustrated and very disappointed as to

how this matter has been handled. This is totally unacceptable and the Post Office has a

responsibility to its employees to handle this in a timely manner. My plan now is to follow

up and communicate with your supervisor, Mr. Elias."

        36) On Jannary 27, 2019, Ms. Ekeren sent Mr. Elias an email requesting a phone call

to discuss her January 27 email to Ms. Lovelace. She provided him with her work schedule

to facilitate the meeting.

        37) On January 30, Mr. Elias contacted Ms. Ekeren to set up a meeting. When Ms.

Ekeren responded that she was available, Mr. Elias emailed her and asked her for her phone

number. Ms. Ekeren immediately sent him her phone number. It was the same number she

had previously sent Ms. Lovelace, twice.

        38) The parties had a 10-minute phone call. As a result, on February 1, 2019, Ms.

Ekeren emailed Mr. Elias the summary of her sexual harassment complaint.

        39) On February 8, 2019, Ms. Elceren emailed Mr. Elias to ask ifhe had received the

complaint summary that she sent to him on February 2.

        40) On Februmy 11, 2019, Mr. Elias responded to Ms. Ekeren by email to advise that

he had received her Februm·y 1 email, and he asked her to call him. Ms. Ekeren immediately

emailed him to advise him that her father has passed away and she would call him the

following week.

        41) Ms. Ekeren called Mr. Elias and left messages for him to return her call on

February 19, February 20, and Februmy 22. In fact, she called him three times on February

22.




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